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                         tJNITEI) STATES I)ISTRICT COURT                    JAN 2 / 2027
                         NORTH ERN I)ISTRICT OF C Et)RC IA              JAMN. HAffEJjer
                                                                        By:7111


IN RE: COURT OPERATIONS UNI)ER
THE EXIGENT CIRCUMSTANCES                                    GENERAL ORI)ER 20-01
CREATED BY COVII)-19 AND RELATED                                  Tenth Amendment
CORONAVIRtJS

                                         ORDER

       (leneral Order 2t)—0 I dated March 1 6. 202t). as amended by Orders dated March
                             .




30. 2020: April 30, 2020: May 26, 2020: .JuIy 1. 2020: July 10, 2020: August 3. 2020:

September 1   .   2t)2t): September 28, 2t)2t), and I)ecember 8, 2020. addresses Court

operations lbr the United States District Court for the Northern I)istrict of Georgia under

the exigent circumstances created by the coronavirus pandemic and the spread oICOVID

19. The Ninth Amendment to General Order 20-0 1, entered December 8, 2020. extended

the time periods specified in the Order through and including February 28. 2021.

       In anticipation of the expiration of its Ninth Amendment to General Order 20-0 1,

the Court again considers wheiher national, state. and local Ct)VID-19 conditions have

sufficiently improved to permit the sa1i resumption of federal jury trials within the

Northern District’s courthouses. Although the daily COVI 1)— 19 inlection rates and test

positi’ ity nitcs appear to he declining both nationally and in Georgia Irom their post—

holiday highs. the num hers for each remain extremely high and contitlue to lir exceed the

high rates ol inlection experienced during the past summet’. When the Court entered its

Ninth Amendment. the seven—day average of’ new (‘OVI I)— 19 cases in Georgia        as more

than 4500 cases per day. l)espite a recent decline. Georgia’s daily average for new


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(‘()Vll)— 19 eases lot the       past   seven days is now repotted at 7.354 cases per day.       Georgia’s


test    positivity   tate also has tiseii to dC)tihle—digits and tanks eighth highest in the 1. Jnited

States. (leotula hospital admissions pet I 00 beds is repotted as kmrth ranked nationally.

ihese numbers         hit   exceed those that existed when the     Court    entered its oriLunal order in

March and are amonii, the highest since the pandemic was declared. In its latest report this

month, the White I lotise        COrona    Virtis lask lorce reports that   more   than 9% ot(ieorgias

    1 59 counties   have    high levels ol community transmission and characterizes conditions in

Georaia as consistent with “a lull pandemic resurgence.”

           Conditions at the district level are not more favorable. Three counties in the

Northern District: Gwinnett. Fulton. and Cobb. account                for   24.7% of the ne cases in

G eorgi a.

          While the COVID-19 vaccination program is now underway nationally and in

Georgia. it is proceeding more sloly than anticipated. The Centers br I)iscasc Control

and Prevention reports that 1 .235.775 doses of the vaccine have been distributed to

Georgia, or 11,639 doses per 100,000 population. Approximately 534,161 people in

Georgia have received one or more closes of the vaccine, or 5.03 1 people per I t)0.00()

population. (Ieorgia is in Phase I a          of its vaccination plan. and it could he several weeks

-   or longer hcft)re accines are available to the general public. While the eventual impact
               -




On transm iSSIOfl 01 the C( )Vl 1)— 1 9 in lict ion remains unkmw ii. at I cast six cases           of   the

C()VID— 19 variant strain have not been identi tied in (leorgia.

          As noted in previous ( )rders. the President’s declaration ol            ii   national emergency

under the National Emergencies Act (50 t LS.C.             § 1601 et seq.) clue to C( )VlI)— 19 has not
                                                      2
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cIianed inr have the lindi I1US (ii (lie J udicial (‘on lIrence ol’ the t       Jn ited   States that

eiiiei’cency   conditions due to this national emergency have materially alThctecl and will

materially affl..ct the Itinctioninc!. ol the fl.deral courts aenerally.

       As stated in     our previous    amendments, the Court has suspended jul-y trials in the

hope that COVI 1)—I 9 could be contained, and its threat eliminated. [)espite months ol’

intense preventative meastires. however, the significant threat presented by COVII)— 19

within the I. Jnited   States    and in Georgia continues. While the introdtiction 01 vaccines

represents a signi Ileant progress in the light against COVI D-] 9, a signi licant decline in the

current COVID- 19 intection rate within the Distt’ict and an increase in the number of

people vaccinated      against   the disease is still needed beft)re this Court can sal’ely resume

jury trials. The Court does not Foresee either a suflicient decline in infi.etions or a sttfficient

increase in vaccinations before the end of February to resume jury trials in tvlarch.

       Consequently. given the seriousness of the current conditions at the national. state.

and district levels, the Court concludes that a Iitrther extension of the suspension of jury

trials is required to allow conditions ithin the district to sufficiently improve so that

counsel can adequately prepare l& trial, and the health and safel) of (lie public, those

appearing beibre the Court. and the Court itsell’ can be aclequatek salguarded.

Significantly, extension of the suspension ot jury’ trials also will allo greater numbers ol

the bench. bar, and ptihlic to receive ttie (‘()Vl [)J9 vaccine heliwe jury trials resume.

       Fherek)re. IT (S HEREBY ORDERED that General Order 2t)-t) 1, as amended. is

Further amended to extend the time periods speci lied therein through and including the date

olApril 4. 2021.

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          IT IS Fti RTH ER )kI)EREI) that while there vil I he              no   civil   or   criminal   jury


trials   in any division of   the Northern I )istriet o I’ ( ieoruia uiiti I a 11cr April 4. 202 I grand
                                                                                                    .




jurors niay continue to he summoned and grand jury proceedings may continue to he held:

and    summonses may         be issued to pmspective jurors br civil and criminal jury trials

schedtiled to bein abler April 4. 2021

          IT IS FURTH ER ORDERED that the time period ol an contintiance entered as

a   result oFthis Order (whether that continuance causes a pre—inclietment delay or a pre—trial

delay) shall be excluded under the Speedy Trial Ad, 18 1 J.S.(’.             § 3161(h)(7)(A), as the
Court finds that the ends of justice served by taking that action outweigh the interests of

the parties and the public in a speedy trial. Absent further Order of the Court or any

individual judge. the period of exclusion shall be from March 23. 2020. through and

including April 4. 2021. The Court         may   extend the period of exclusion as circumstances

may warrant. ‘[his Order and period of exclusion are incorporated by reference as a specific

finding under 18 U.S.C.        § 3161(h)(7)(A) in the record of each pending case where the
Speedy Irial Act applies. See Zedrn’r v. United States, 547 U.S. 489, 506-07 (2t)06). The

periods of exclusion   iii   the (ourt s prior Orders on this subject. General Order 20—01 and




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under I    t J.S.C.   3 I 6 If h )( 7 )( A ) in the record oleach pending ease x’ here the Speedy trial

Act applies.




          SO ORDERED this           7 day oF Janumy 202 I




                                        THOMAS W. THRASH, JR.
                                        CHIEF tJNJTED STATES DISTRICT .JLJDGE




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